

JSJ Anesthesia Pain Mgt., PLLC v State Farm Mut. Auto. Ins. Co. (2024 NY Slip Op 50064(U))



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JSJ Anesthesia Pain Mgt., PLLC v State Farm Mut. Auto. Ins. Co.


2024 NY Slip Op 50064(U)


Decided on January 12, 2024


Appellate Term, Second Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on January 12, 2024
SUPREME COURT, APPELLATE TERM, SECOND DEPARTMENT, 2d, 11th and 13th JUDICIAL DISTRICTS
PRESENT: : LISA S. OTTLEY, J.P., CHEREÉ A. BUGGS, PHILLIP HOM, JJ



2023-163 K C

JSJ Anesthesia Pain Management, PLLC, as Assignee of Vazquez, Hector N., Appellant,
againstState Farm Mutual Automobile Ins. Co., Respondent. 




The Rybak Firm, PLLC (Maksin Leyvi and Richard Rozhik of counsel), for appellant.
Nicolini, Paradise, Ferretti &amp; Sabella, PLLC (Francis J. Ammendolea of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (D. Bernadette Neckles, J.), dated December 15, 2022. The order granted defendant's motion for summary judgment dismissing the complaint and denied plaintiff's cross-motion for summary judgment.




ORDERED that the order is modified by providing that defendant's motion for summary judgment dismissing the complaint is denied; as so modified, the order is affirmed, without costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that the policy limits had been exhausted, and denied plaintiff's cross-motion for summary judgment.
For the reasons stated in Pain Med., PLLC, as Assignee of Van-Bochove, Nourine v State Farm Mut. Auto. Ins. Co. (— Misc 3d &amp;mdash, 2024 NY Slip Op — [appeal No. 2023-753 K C], decided herewith), the order is modified by providing that defendant's motion for summary judgment dismissing the complaint is denied.
OTTLEY, J.P., BUGGS and HOM, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: January 12, 2024









